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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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       Case 4:19-cv-07123-PJH                 Document 504            Filed 01/09/25          Page 2 of 3




 1            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2            PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. move the Court to consider whether

 4   certain portions of Plaintiffs’ Notice of Motion and Motion to Exclude the Expert Testimony of Col.

 5   Ty Shepard (“Motion to Exclude”) and Exhibit B to the Declaration of Micah G. Block in Support

 6   of the Motion to Exclude (collectively, the “Confidential Materials”) should be sealed.

 7            Defendants designated Exhibit B, which is the transcript of the deposition of Colonel Ty

 8   Shepard, as “Highly Confidential—Attorneys’ Eyes Only” pursuant to the Stipulated Protective Or-

 9   der (Dkt. No. 132) in the above-captioned action. Plaintiffs, therefore, must, under the terms of the

10   Stipulated Protective Order, file the Exhibit B under seal and redact the portions of the Motion to

11   Exclude that quote Exhibit B.1

12            Accordingly, Plaintiffs now move the Court to consider whether the Confidential Materials

13   should be sealed. See N.D. Cal. Civil L.R. 79-5(f). See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs

14   reserve the right to challenge any confidentiality designations as well as the sealability of the mate-

15   rials at issue.

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                Plaintiffs sought to get Defendants’ approval to file the Confidential Materials publicly, and thus avoid this
     motion, but Defendants were unable to review Exhibit B before the filing deadline.
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                                                                  1
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: January 9, 2025                     Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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 4                                               By: /s/ Micah G. Block
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
                                                         Meta Platforms, Inc.
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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
